                 UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                        OCALA DIVISION

UNITED STATES OF AMERICA

v.
                                              Case No. 5:20-cr-40-Oc-28PRL

CHRISTINA LYNN CATALANO and
JOSEPH SAMUEL CATALANO
____________________________________/

                DEFENDANTS’ JOINT AND UNOPPOSED
             MOTION TO EXTEND MOTION FILING DATE
           AND CONTINUE TRIAL AND STATUS CONFERENCE

      Christina Lynn Catalano, through counsel, moves for an extension of time

for filing motions and a continuance of her trial and status hearing, based on the

following considerations:

      1.     According to the Criminal Scheduling Order (Doc. 18), trial is

scheduled for the November, 2020 trial term, with a status conference set for

October 23, 2020. Motions are due to be filed by September 30, 2020.

      2.     Counsel is still in the process of reviewing discovery, investigating

the background of the case, conducting research, and determining what (if any)

motions should be filed on behalf of Ms. Catalano.

      3.     Counsel requires additional time in order to effectively represent
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Ms. Catalano.

      4.       It is requested that the motion filing date be extended to October

16, 2020.

      5.       It is further requested that Ms. Catalano’s trial be continued to the

December, 2020 trial term, and the status hearing continued to the Court’s

designated date in November.

      6.       Michael Nielsen, co-defendant Joseph Catalano’s counsel, joins in

this motion.

      7.       Assistant U.S. Attorney Michael Felicetta is unopposed to the relief

requested herein.

      For the foregoing reasons it is requested that the motion filing date be

extended to October 16, 2020 and the trial and status hearing of this cause

continued to the Court’s December trial term.

                                         Respectfully submitted,

                                         James T. Skuthan
                                         Acting Federal Defender


                                         s/ Mark Rosenblum
                                         Mark Rosenblum
                                         Florida Bar No. 0289175
                                         Assistant Federal Defender
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                       CERTIFICATE OF SERVICE

      I certify that on September 28, 2020, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will send notice

of electronic filing to all counsel of record.


                                            s/ Mark Rosenblum
                                            Assistant Federal Defender




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